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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

      -v.-                                                     S2 20 Cr. 330 (AJN)

 GHISLAINE MAXWELL,

                    Defendant.




              THE GOVERNMENT’S MEMORANDUM IN OPPOSITION
             TO THE DEFENDANT’S OMNIBUS POST-TRIAL MOTIONS




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                                 PRELIMINARY STATEMENT

       The Government respectfully submits this memorandum in opposition to the defendant’s

four post-trial motions, dated February 11, 2022 (“Def. Mot.”) (Dkt. No. 599).

                                       LEGAL STANDARD

       Under Rule 29 of the Federal Rules of Criminal Procedure, a court “must enter a judgment

of acquittal of any offense for which the evidence is insufficient to sustain a conviction.” Fed. R.

Crim. P. 29(a). “In reviewing a Rule 29 motion, the court ‘must view the evidence in a light that

is most favorable to the government, and with all reasonable inferences resolved in favor of the

government.’” United States v. Joseph, No. 20 Cr. 603 (PKC), 2022 WL 336975, at *1 (S.D.N.Y.

Feb. 4, 2022) (quoting United States v. Anderson, 747 F.3d 51, 60 (2d Cir. 2014)). The court

“must ‘defer to the jury’s evaluation of the credibility of witnesses, its choices between permissible

inferences, and its assessment of the weight of the evidence.’” Id. (quoting United States v. Jones,

482 F.3d 60, 68 (2d Cir. 2006)). A conviction must be upheld “if any rational trier of fact could

have found the essential elements of the crime beyond a reasonable doubt.” Peters, 843 F. App’x

at 372; see also United States v. Cuti, 720 F.3d 453, 461 (2d Cir. 2013) (“A judgment of acquittal

can be entered only if the evidence that the defendant committed the crime alleged is nonexistent

or so meager that no reasonable jury could find guilt beyond a reasonable doubt.”).

       Rule 33 provides, in relevant part, that “[u]pon the defendant’s motion, the court may

vacate any judgment and grant a new trial if the interest of justice so requires.” Fed. R. Crim. P.




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33(a). 1 “The defendant bears the burden of proving that he is entitled to a new trial under Rule

33[.]” United States v. McCourty, 562 F.3d 458, 475 (2d Cir. 2009). Because motions for a new

trial are strongly disfavored, “the standard for granting such a motion is strict,” United States v.

Gambino, 59 F.3d 353, 364 (2d Cir. 1995), and it should be granted “sparingly and in the most

extraordinary circumstances, and only in order to avert a perceived miscarriage of justice.” United

States v. Gramins, 939 F.3d 429, 444 (2d Cir. 2019). In deciding the motion, courts “should

generally defer to the jury’s resolution of conflicting evidence and assessment of witness

credibility.” United States v. Landesman, 17 F.4th 298, 330 (2d Cir. 2021). The “ultimate test on

a Rule 33 motion is whether letting a guilty verdict stand would be a manifest injustice.” United

States v. Peters, 843 F. App’x 369, 374 (2d Cir. 2021) (quoting United States v. Ferguson, 246

F.3d 129, 134 (2d Cir. 2001)).

                                          ARGUMENT

    I.      The Defendant Was Convicted of the Crimes Charged in the Indictment, So No
            Constructive Amendment or Variance Occurred

         In her motion, the defendant claims that the Government’s proof at trial differed from the

crimes charged in the Second Superseding Indictment (the “S2 Indictment” or “Indictment”), and

that the Government therefore constructively amended Counts One, Three, and Four of the

Indictment. Not so. At all times—before trial, in its presentation of the evidence, at closing

argument, and in seeking jury instructions—the Government consistently argued that the




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  Unless otherwise noted, case text quotations omit all internal quotation marks, citations, and
alterations.
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defendant enticed and transported Jane to New York with the intent that Jane engage in illegal

sexual activity, and that the defendant conspired to do so regarding Jane and the other Minor

Victims. That is the issue the Court instructed the jury to resolve. And that is the criminal conduct

charged in Counts One through Four of the S2 Indictment.             Accordingly, no constructive

amendment or variance occurred.

   A. Applicable Law

        Under the Fifth Amendment’s Grand Jury Clause, “an indictment must contain the

 elements of the offense charged and fairly inform the defendant of the charge against which he

 must defend.” United States v. Khalupsky, 5 F.4th 279, 293 (2d Cir. 2021). “[W]hen the charge

 upon which the defendant is tried differs significantly from the charge upon which the grand

 jury voted,” a constructive amendment occurs and reversal is required. Id. “Not every alteration

 of an indictment, however, rises to the level of a constructive amendment.” United States v.

 Dove, 884 F.3d 138, 146 (2d Cir. 2018). Instead, “[t]o prevail on a constructive amendment

 claim, a defendant must demonstrate that the terms of an indictment are in effect altered by the

 presentation of evidence and jury instructions which so modify essential elements of the offense

 that there is a substantial likelihood that the defendant may have been convicted of an offense

 other than that charged in the indictment.” United States v. Gross, No. 15 Cr. 769 (AJN), 2017

 WL 4685111, at *20 (S.D.N.Y. Oct. 18, 2017), aff’d sub. nom United States v. Lebedev, 932

 F.3d 40 (2d Cir. 2019). That is, a defendant “must show that the evidence and jury instructions

 at trial completely shifted the core of criminality—i.e. proved behavior entirely separate from

 that identified in the indictment.” Id. at *23.

        This analysis begins by identifying the “core of criminality,” that is, “the essence of a
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 crime, in general terms,” but not “the particulars of how a defendant effected the crime.” Id. at

 *20. The “object of a conspiracy constitutes an essential element of the conspiracy offense.”

 Id. However, text in an indictment, such as “factual allegations that do not prove essential

 elements of a charge” and “general factual allegations leading into the statutory allegations” are

 not limitations on the core of criminality alleged in an indictment. Id.

       Once a court identifies the core of criminality, the court “must then determine whether the

evidence or jury instructions at trial created a substantial likelihood that the defendant was not

convicted of the crime described in that core, but of a crime ‘distinctly different’ from the one

alleged.” Id. The Second Circuit has “consistently permitted significant flexibility in proof,

provided that the defendant was given notice of the core of criminality to be proven at trial.”

Lebedev, 932 F.3d at 53. Accordingly, a defendant “cannot simply show that the facts diverged

greatly from those alleged in the indictment,” but rather that “the evidence and jury instructions

created a substantial likelihood that a defendant was convicted for behavior entirely separate from

that identified in the indictment.” Gross, 2017 WL 4685111, at *21; see United States v. McGinn,

787 F.3d 116, 128 (2d Cir. 2015) (“[T]he proof at trial need not, indeed cannot, be a precise replica

of the charges contained in an indictment . . . .”). “[T]he Second Circuit has made clear that a

constructive amendment does not occur where the facts at trial involve not a ‘distinctly different

complex set of uncharged facts’ but ‘a single set of discrete facts consistent with the charge in the

indictment.’” Id. (quoting United States v. D’Amelio, 683 F.3d 412, 419 (2d Cir. 2012)).

       “In contrast to a constructive amendment, a variance occurs when the charging terms of

the indictment are left unaltered, but the evidence offered at trial proves facts materially different


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from those alleged in the indictment.” Gross, 2017 WL 4685111, at *31. Reversal due to a

variance is appropriate only when the defendant can establish “that substantial prejudice occurred

at trial as a result of the variance,” a showing that cannot be made “where the pleading and the

proof substantially correspond, where the variance is not of a character that could have misled the

defendant at trial, and where the variance is not such as to deprive the accused of his right to be

protected against another prosecution for the same offense.” Khalupsky, 5 F.4th at 294. “The

Second Circuit has repeatedly held that, so long as a defendant receives notice of the Government’s

theory of the case before trial, he is not prejudiced by a variance.” Gross, 2017 WL 4685111, at

*32.

   B. Discussion

       No constructive amendment or variance occurred in this case. The grand jury returned the

S2 Indictment charging the defendant with knowingly transporting Jane with the intent that Jane

engage in criminal sexual activity in New York, and aiding and abetting the same, and with

conspiring to entice and transport minors in interstate commerce with the intent that they engage

in criminal sexual activity in New York. That is the core of criminality charged in the S2

Indictment, and it is what the Government proved at trial and the Court captured in its jury

instructions.

       1. The Proof at Trial and Jury Instructions Captured the Core of Criminality

       The defendant argues that the core of criminality for the Mann Act counts “was a scheme

by Epstein and [the defendant] to entice or cause underage girls to travel to New York with the

intent that they would engage in sexual activity in violation of New York law.” (Def. Mot. at 9).

That is precisely the theory the Government advanced at trial. As the defendant correctly states,
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the Government “consistently maintained that to convict [the defendant] on the Mann Act Counts

(Counts One through Four), it was necessary to prove that [the defendant] enticed or caused

underaged girls to travel to New York, or conspired to do the same, with the intent that they would

engage in illegal sexual activity that violated New York law.” (Def. Mot. at 1). The Government

never advanced a theory that the illegal sexual activity identified in the S2 Indictment was sexual

activity that occurred outside New York.

       At trial, the Government marshalled evidence that the defendant knowingly transported

Jane to New York, and aided and abetted Epstein in doing so, with the intent that Jane engage in

criminal sexual activity there in violation of New York law. That evidence included testimony

from Jane in detail about Epstein’s New York residence (Tr. 316-19) and specific sexual acts that

took place in New York while Jane was a minor (Tr. 319-20). As the defendant rightly concedes,

“most of [Jane’s] trips were to New York” and “the majority of Jane’s testimony about the trips

consisted of a description of Epstein’s house in New York and the sexual abuse she experienced

there.” (Def. Mot. at 13). The Government also offered significant corroborating evidence,

including flight records and photographs of Epstein’s New York residence. On the conspiracy

counts, the Government also offered evidence that the defendant and Epstein transported another

victim, Virginia Roberts, to New York while she was a minor. (See, e.g. Tr. 1862 (describing a

flight from 2001 in which Epstein, the defendant, and Virginia flew from Maine to Teterboro, New

Jersey)).

       The Government’s summation similarly discussed the Mann Act offenses as encompassing

conduct directed at New York. The Government explained that Count Two “is about Jane and


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how Maxwell and Epstein enticed her to . . . go across state lines to New York to be abused.” (Tr.

2889 (emphasis added)). On that Count, the Government reminded the jury that “Jane told you

about traveling with Maxwell to New York,” and argued that “Jane didn’t end up in New York by

accident.” (Tr. 2889-90 (emphasis added)). The Government also argued that the pattern of Jane’s

relationship with the defendant and Epstein showed that the defendant “enticed Jane to New York.”

(Tr. 2890 (emphasis added)). And the Government argued that the evidence showed the defendant

“absolutely intended that Jane would be abused in New York.” (Id. (emphasis added)). The

Government explained that Count Four differed from Count Two in that it involved travel, and not

enticement to travel. So, the Government argued, the evidence showed that “Jane was transported

to New York,” and that the defendant was involved in making travel arrangements. (Tr. 2891

(emphasis added)). The Government also made clear that, in order to show a violation of New

York law, the Government did not have to show “that abuse in New York actually happened,” so

long as the defendant had the requisite intent. (Tr. 2892 (emphasis added)). Accordingly, “[t]he

crime happened the moment [the defendant, Epstein, and Jane] crossed state lines,” and “to be

very clear, when Epstein flew Jane to New York and Maxwell aided and abetted him, that’s enough

too.” (Id. (emphasis added)). For the conspiracy counts, the Government referenced its earlier

discussion of the elements of the substantive Mann Act offenses. And the Government argued

that, “even though Carolyn and Annie were not sexually abused in New York . . . that is what [the

defendant and Epstein] both intended.” (Tr. 2895 (emphasis added); see Tr. 2895-96 (arguing that

the defendant “groomed Annie for abuse after she had already visited Epstein in New York.”

(emphasis added))).


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       The Court’s Mann Act jury instructions also permitted the jury to determine only whether

the defendant had intended that Jane (for the substantive counts) or the conspiracy victims were

intended to engage in sexual activity in New York. During trial, the Court granted defense requests

for limiting instructions at the time evidence came in to avoid the precise concern the defendant

now articulates. (Tr. 1167-68 (Kate); 2048-49 (Annie)). See Gross, 2017 WL 4685111, at *27

(explaining that the Court identified no case “in which the Second Circuit has ever found a

constructive amendment when a district court issued limiting instructions properly defining the

scope of the alleged crime”). And at the conclusion of trial, the Court explained that Count Two

alleged that the defendant “enticed Jane to travel across state lines with the intent that she would

engage in sexual activity for which a person could be charged with a crime under the penal law of

New York State.” (Tr. 3034; see Tr. 3031 (describing the third element of Count Two to require

proof of an intent to violate “New York law as alleged in the indictment”)). Similarly, the Court

explained that Count Four alleged that the defendant knowingly transported Jane “with the intent

that Jane engage in sexual activity for which any person can be charged with a criminal offense in

violation of New York law.” (Tr. 3037; see Tr. 3035 (describing the second element of Count

Four to require proof of an intent to violate “New York law as alleged in the indictment”)). For

both Counts, the Court specifically instructed the jury on one and only one predicate state offense:

a violation of New York Penal Law Section 130.55. (Tr. 3034, 3037). The instructions on Counts

One and Three incorporated this discussion of the elements of Counts Two and Four, and the only

statute the Court identified in its discussion of the relevant overt acts was New York Penal Law

Section 130.55. (Tr. 3049-50, 3056-57).


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       2. There is No Substantial Likelihood That The Jury Convicted The Defendant
          Solely Because Jane was Sexually Abused in New Mexico

       The defendant argues that a constructive amendment or variance occurred because the jury

“improperly based their conviction solely on the sexual abuse that Jane experienced in New

Mexico.” (Def. Mot. at 13). That argument can be readily rejected. There is no likelihood—much

less a substantial likelihood—that the jury disregarded the Court’s instructions and applied an

unidentified New Mexico law to brief testimony about Jane’s abuse in New Mexico and convicted

the defendant solely on that basis.

       Neither the Government’s proof at trial nor the Court’s jury instructions provide a basis for

that conclusion. At no point during the trial, including its summation, did the Government argue

that the jury could convict on a theory that the defendant intended Jane to be abused in New

Mexico.

       Similarly, the Court’s charge required the jury to decide whether the defendant intended to

violate New York law. The jury was not informed of the age of consent in New Mexico or any

particular criminal statute in New Mexico. The defendant does not explain how the jury charge

permitted the jury to convict the defendant for transporting Jane to New Mexico with the intent

that she engage in sexual activity violative of some unidentified New Mexican criminal law. 2

       In support of her argument, the defendant relies on (1) the fact that Jane testified about

being sexually abused in New Mexico, and (2) the jury note regarding New Mexico. (Id.) Neither




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  Ironically, it is the defendant who proposed instructing the jury on the relevant ages of consent
in states other than New York. (See Dkt. No. 410-1 at 51-52). Such an instruction would have
provided the jury some state law to compare to the facts and determine whether it was violated,
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of these provide any likelihood, much less a substantial likelihood, that the jury convicted the

defendant solely because she intended for Jane to be sexually abused in New Mexico.

           a. Jane’s Testimony About Sexual Abuse in New Mexico

       Jane’s testimony about her abuse in New Mexico cannot provide the basis for any

constructive amendment argument. That testimony was entirely proper. As the Court recognized,

the evidence of Jane’s abuse in New Mexico was relevant to the jury’s decision on the Mann Act

counts. (Tr. 3149-50; see Dkt. No. 566 at 5 n.1 (stating that the defense does “not contest that

alleged sexual activity that occurred in other states can be evidence of [the Mann Act]

conspiracies”)). That evidence was probative of the defendant’s knowledge that Epstein was

having sexual encounters with Jane while she was a minor and that the abuse occurred while

traveling to Epstein’s various properties; and it was probative of the defendant’s role in facilitating

the abuse. This evidence “fell squarely within the charged scheme” and “was entirely consistent

with the indictment,” and was “thus no constructive amendment.” United States v. Jones, 847 F.

App’x 28, 30 (2d Cir. 2021); see Gross, 2021 WL 4685111, at *28 (noting that if the jury

determined that “inarguably relevant” evidence “described a different conspiracy, the jury

instructions ensured that the jury would not convict Gross of this other conspiracy”). Indeed, that

evidence was no less relevant and proper than evidence of Jane’s abuse in Florida, or evidence of

Annie, Kate, Carolyn, and Virginia’s abuse at Epstein’s properties outside New York—none of




enhancing the risk of conviction based on that conduct. But the Court did not give such an
instruction, since the Government proceeded only on the theory that it had to prove an intent to
violate New York law.
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which gave rise to a constructive amendment. Relative to that evidence, Jane’s testimony about

New Mexico, spanning less than three pages of the transcript of her direct examination, was brief

and general. (Tr. 321-23). All of this evidence was a “a single set of discrete facts consistent with

the charge in the indictment.” Gross, 2017 WL 4865111, at *21 (quoting D’Amelio, 683 F.3d at

419). And even if that were not so, the Government is permitted “significant flexibility in proof”

so long as the defendant has “notice of the core of criminality to be proven at trial,” as the defendant

undoubtedly did. Lebedev, 932 F.3d at 53.

        The defendant overstates the issue by suggesting that a constructive amendment would

have occurred if the jury “based their conviction solely on the sexual abuse that Jane experienced

in New Mexico.” (Def. Mot. at 13). In fact, the jury was free to rely principally on that evidence

to satisfy elements of Counts One, Three and Four. That is, the jury could have convicted even if

no sexual abuse occurred in New York, so long as it concluded that the defendant intended for

abuse to occur in New York. And evidence of the defendant’s knowledge of sexual abuse that

occurred in New Mexico would support such a conclusion about the defendant’s intent as to what

would happen in New York. But there is no substantial likelihood that the jury erroneously

convicted the defendant of transporting Jane to New Mexico with the intent that she be abused in

violation of some law in New Mexico. That theory of guilt was neither pursued by the Government

nor available under the Court’s jury instructions. See Lebedev, 932 F.3d at 54 (“[T]he evidence at

trial directly addressed the core of criminality charged in the indictment . . . .”). It is not a

constructive amendment that the Government presented relevant evidence that could lead to a




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conviction outside of the scope of the S2 Indictment only if taken entirely in isolation and applied

by a jury that disobeyed the Court’s instructions.

           b. The Second Jury Note

       The defendant argues that, notwithstanding the tight connection between the Indictment,

evidence at trial, and jury instructions, the jury in fact actually convicted the defendant for

transporting Jane to New Mexico to engage in criminal sexual activity there. This argument relies

almost entirely on a single jury note.

       During deliberations, the jury sent the following note:

           Under Count Four, if the defendant aided in the transportation of Jane’s
           return flight, but not the flight to New Mexico, where/if the intent was
           for Jane to engage in sexual activity, can she be found guilty under the
           second element?

(Tr. 3126). The note led to a lengthy discussion, at the conclusion of which the Court concluded

it should refer the jury back to the jury charge on the second element of Count Four because the

jury note was otherwise “too difficult to parse factually and legally.” (Tr. 3126-40).

       That night, the defense filed a letter seeking reconsideration of the Court’s response and

raising the possibility of a constructive amendment or prejudicial variance. (Dkt. No. 566 at 2-3).

The defense asked the Court to give an additional instruction in the morning. (Id. at 7). That

proposal instructed the jury as to the intent elements of Counts Two and Four, and ended with the

sentence that “[a]n intent that Jane engage in sexual activity in any state other than New York

cannot form the basis of these two elements of Counts Two and Four.” (Id.)

       The Court rejected the defendant’s request. The Court noted that the jury did not inquire

about Count Two, so there was no basis to respond to the jury note with information about Count

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Two. (Tr. 3149). The Court also rejected the defense’s proposed final sentence as “just wrong,”

because it suggested that an intent that Jane engage in sexual activity outside of New York “may

have no relevance.” (Id.). As the Court explained, “This is the same discussion we’ve had a couple

of times . . . . Sexual activity with respect to Jane in New Mexico under the age of 17 can be

relevant to an intent to transport to New York to engage in sexual activity under the age of 17, I

think.” (Tr. 3149-50). The Court repeated that it did “not know how to parse the jury’s question

exactly,” but that its instruction directing the jury to the original charge included a reminder that

“it’s a violation of New York penal law that’s charged and is the illegal sexual activity that they’re

considering.” (Tr. 3150). The defense made a further record of its views, including that “travels

to and from New Mexico, solely in New Mexico cannot form the basis for a violation of New York

law.” (Tr. 3152-53). The Court explained that the defense suggestion was “wrong as a legal

matter” because it suggests that the testimony was “irrelevant,” and the Court also pointed out that

the defense did not “seek to exclude that testimony, nor did you seek a limiting instruction with

respect to that testimony.” (Tr. 3153). The Court added that “[t]he reading of the note that you’ve

suggested, I have no idea if that’s what the jury is asking or many other plausible readings, and

what you’ve proposed, as you just indicated, would be incorrect. So, I think that’s why precisely

we sent them back to the charge.” (Tr. 3154).

       The defendant renews her arguments now, urging that the jury note shows that “the jurors

had the mistaken impression that it would be sufficient to satisfy the second element of Count Four




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if they found that Ms. Maxwell had intended Jane to engage in sexual activity in New Mexico.”

(Def. Mot. at 13). The Court was right to reject these arguments during trial.

       First, the meaning of the jury note is entirely ambiguous. It is at a minimum unclear (1)

which flights are referenced in the note, (2) where the sexual activity was intended to occur, and

(3) what question is posed by the note.

       The defendant argues that the note’s mention of a flight to New Mexico is a specific

reference to a 1997 flight from New York to New Mexico captured in the flight logs that lists both

the defendant and Jane as passengers. (See Def. Mot. at 14 (citing GX 662-R at 48)). The jury

may have considered that flight, or some other flight. (See, e.g., GX 662 at 51 (flight to Santa Fe

from Palm Beach with Epstein, the defendant, and “1 female”); Tr. 316 (testimony from Jane that

she sometimes traveled on commercial flights)). If it was that flight, the subsequent flight record

departing Santa Fe did not include the defendant or Jane (see GX 662 at 48), providing no

information about the flight that the defendant thinks was the focus of the jury’s attention. And to

the extent it was a “return” trip, the origin of the trip to New Mexico was New York, so the jury

could easily have inferred that the “return” trip was also to New York. That is, the defendant may

or may not be right about which flight the jury had in mind. And if the jury was asking about this

trip, the jury could well have been asking about a flight to New York—which, if the defendant

arranged, could have been highly significant and proper evidence of guilt. The defendant’s

presumption that the jury was focused on this particular trip and specifically on a return flight to

Florida with no relevance to the case is mere conjecture.




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       That fact is compounded by the lack of clarity about where the jury believed the sexual

activity occurred. It is not clear whether the flight on which the “intent was for Jane to engage in

sexual activity” references the flight to New Mexico, as the defendant suggests, or the return flight.

If it is the flight to New Mexico, it would still be probative evidence on Count Two, albeit not

sufficient for conviction. If it is a flight from New Mexico, it would also still be probative and

would not pose any risk that the jury convicted based on conduct occurring in New Mexico. And

if the jury thought that the defendant intended Jane to engage in sexual activity at the conclusion

of a return flight from New Mexico to New York, it could well have been sufficient for conviction

on Count Two.

       The issue is further confused by the uncertainty about the question posed by the jury. The

defendant understands the question to be about whether sexual activity in New Mexico is sufficient

to find the defendant guilty. First, the jury’s question does not ask whether certain facts are

sufficient for guilt; it asks whether the defendant “can be found guilty” if a certain fact is true. The

defendant “can” be found guilty based in part on sexual activity occurring in New Mexico, as

described above. That is a perfectly sensible question for the jury to ask—indeed, it was repeatedly

raised by defense counsel to the Court at trial. (See, e.g., Tr. 3149 (Court stating: “This is the same

discussion we’ve had a couple of times [defense counsel]. Sexual activity with respect to Jane in

New Mexico under the age of 17 can be relevant to an intent to transport to New York to engage

in sexual activity under the age of 17, I think. I think this is the same basic discussion that we’ve

had. So . . . I think the proposal made by the defense is wrong.”). And second, the question

specifically uses the word “aided,” suggesting that the jury note may have been a question about


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the scope of accomplice liability, and specifically, whether the defendant is culpable for all conduct

related to a trip even if her role was limited to arranging the return flight. Indeed, the defendant’s

current understanding of the note’s question was not her initial view, which triggered the defense

to repeatedly request an instruction about the “purpose of the travel.” (Tr. 3138; see Tr. 3131

(requesting that the Court direct the jury’s attention to the requirement that illegal activity was a

“significant and motivating purpose” of the travel)).

       It is therefore too difficult to parse the note into a particular set of facts and a question

about those facts. The defendant’s contrary understanding is brimming with speculation. The

defendant presumes that the jury note indicates that the jurors “decided that there was no

corroborating evidence that Ms. Maxwell was present for, or helped arrange, any of Jane’s trips to

New York, but that the flight logs did corroborate that Ms. Maxwell was present for her trip to

New Mexico,” so “the jury began evaluating Ms. Maxwell’s involvement in the New Mexico trip

to see if it supported a conviction under Count Four, which led to the question posed by the jury

note.” (Def. Mot. at 14-15). Nothing in the note explains why the jury was asking the question it

did. Indeed, it would be odd for the jury to reject all of Jane’s testimony about travel to New York

and the ensuing sexual abuse in New York for lack of corroboration, and then conclude that the

defendant arranged an unidentified commercial return flight for which there is no specific evidence

in the record, including no specific corroboration of the defendant’s role in arranging that flight.

(See Tr. 3133 (defense argument that there is “no evidence” the defendant arranged a return flight

from New Mexico)). And there is no reason the jury would have rejected Jane’s testimony about

sexual abuse in New York due to lack of corroboration, even though a flight record shows she was


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flown to New York on Epstein’s private jet (see Def. Mot. at 14 (citing GX-662-R at 44)), but

would have accepted her much briefer and less detailed testimony about abuse in New Mexico

solely because it was corroborated by a flight record. 3

       The defendant also speculates that the jury then decided to acquit the defendant on Count

Two but not on Count Four because the jury convicted based on the evidence related to the New

Mexico trip. Specifically, the defendant argues that the jury acquitted the defendant of enticement

because the flight logs showed that “she was present on the trip [to New Mexico] but said nothing

about whether she ‘persuaded, induced, enticed, or coerced’ Jane to take the trip. Indeed, Jane did

not testify about having any interaction with Ms. Maxwell prior to the flight to New Mexico in

which they discussed the trip.” (Def. Mot. at 15). In contrast, the defendant suggests that the jury

must have “found that Ms. Maxwell had some role in arranging Jane’s return flight from New

Mexico,” which they took to be sufficient. But there is no specific evidence—not a flight record,

and not in Jane’s testimony—of how and to where Jane returned from that particular New Mexico

trip, much less that the defendant participated in or made Jane’s travel arrangements. (See Tr.

3129-30 (defense referring to the return flight as “going somewhere away from . . . New Mexico”

and as “some other flight besides the flight to New Mexico”)). In the defendant’s view, the jury

rejected nearly all of the evidence relating to Jane for lack of corroboration, and then convicted the




3
  The defendant says that the “critical difference” between those trips is that the defendant was not
listed as a passenger on the trip to New York but is listed on the second trip to New Mexico. (Def.
Mot. at 14). That difference, however, says nothing about whether the jury required a
corroborative flight record before crediting Jane’s account of travel to and abuse in New York or
New Mexico.
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defendant based on an unsupported speculative leap from Jane’s testimony. That is not plausible,

and it certainly is not a “substantially likely” conclusion that can be drawn from an inscrutable

jury note.

       Second, even if the jury was so confused, the Court’s response ameliorated that confusion.

The Court did not tell the jury that it could convict based solely on conduct occurring in New

Mexico. Instead, it referred the jury to the instruction that explained that the second element of

Count Four requires the Government to prove the defendant’s intent “that Jane engage in sexual

activity for which any person can be charged with a criminal offense in violation of New York

Law,” and further stated that “Count Four alleges sexual activity for which an individual could be

charged with a violation of New York Penal Law, Section 130.55.” (Inst. No. 21). The defendant

does not argue that this instruction incorrectly states the law. 4 Nor does the instruction make any

reference to New Mexico whatsoever, much less does it suggest that conviction is available if the

defendant intended to violate some New Mexican statute. The jury is presumed to have followed

this instruction correctly. See United States v. Joyner, 313 F.3d 40, 47 (2d Cir. 2002) (reciting the



4
  The defendant complains that the jury instructions were “stripped of any mention of travel to
New York,” such as a limitation that the travel be “from Florida to New York.” (Def. Mot. at 1-
2, 15). The defendant tried to incorporate several limitations from the “to wit” clause of the
Indictment into the jury charge, and the Court correctly rejected that attempt, because the
Government is not strictly bound by facts in the “to wit” clause of an indictment. See, e.g., United
States v. Little, 828 F. App’x 34, 38 (2d Cir. 2020) (“Such a discrepancy, however, does not rise
to the level of a constructive amendment because ‘to wit’ clauses do not modify essential elements
of the offense.”). For instance, if the jury had concluded that the defendant transported Jane from
New Mexico to New York with intent to violate New York law—which is one available reading
of the jury note—that would be a permissible basis for conviction, but outside the limitations
proposed by the defendant. The defendant’s proposed instructions containing those limitations
would have been erroneous.
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“almost invariable assumption of the law . . . that jurors follow their instructions”). Accordingly,

even if the jury note suggests some confusion, the Court’s response did not constructively amend

the S2 Indictment. See Jones, 847 F. App’x at 30 (finding no constructive amendment in a sex

trafficking case where the indictment did not contain the verb “advertise” but the evidence included

evidence of advertising and the Court mistakenly used that verb in parts of the instructions, because

the advertising evidence “fell squarely within the charged scheme” and the Court otherwise

correctly instructed the jury); Lebedev, 932 F.3d at 54 (“The jury instructions described a

conspiracy substantially the same as the one charged in the indictment.”).

       Third, the defendant’s argument is better framed as a challenge to the Court’s response to

the jury note or a challenge to the jury instructions in the form of a constructive amendment

argument. See, e.g., United States v. Muraca, 803 F. Appx’ 545, 546 (2d Cir. 2020) (“[T]he trial

court enjoys considerable discretion construing the scope of a jury inquiry and in framing a

response tailored to the inquiry,” and “If a supplemental charge is legally correct, the district court

enjoys broad discretion in determining how, and under what circumstances, that charge will be

given.”). Rather than challenge what she takes to be an error, however, the defendant argues

instead that the Court’s response to the jury note worked a constructive amendment. In so doing,

the defendant must surmount the high bar of showing that, notwithstanding the focus of the trial

evidence, the Court’s limiting instructions at trial, and the Court’s jury instructions taken as a

whole, the Court’s response to the jury note “so modif[ied] essential elements of the offense that

there is a substantial likelihood that the defendant may have been convicted of an offense other

than that charged in the indictment.” Gross, 2017 WL 4685111, at *20. The original instructions


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did not modify any essential element of the offense or permit conviction based on an entirely

different theory. Referring the jury back to the same instructions could not have caused a different

result.

          The S2 Indictment charged the defendant with Mann Act offenses with an intent to engage

in sexual activity in violation of a New York statute. The Government put on evidence that the

defendant engaged in a course of conduct with the intent to violate that New York statute. The

Court charged the jury that the Government had to prove an intent to violate that New York statute

beyond a reasonable doubt. “[T]he allegations in the indictment and the proof and jury instructions

‘substantially correspond’ with each other, as they involve a single course of conduct.” D’Amelio,

683 F.3d at 424. “It therefore follows that [the defendant] was convicted of conduct that was the

subject of the grand jury’s indictment, and there was no constructive amendment of the

indictment.” Id. 5




5
  Even if the Court agreed with the defendant that the proof as to Count Four was constructively
amended, vacatur of the Mann Act conspiracy counts would be inappropriate. The jury note asked
specifically about Count Four, and suggested no confusion as to the conspiracy counts. Moreover,
the jury notes—which are of primary importance under the defendant’s theory—reveal that the
jury was focused on Annie Farmer’s testimony as to the Mann Act conspiracy counts (Tr. 3102-
07). And Annie’s testimony of abuse in New Mexico is no less significant than Jane’s. Finally, it
is entirely unclear how the jury’s erroneous understanding of the law relating to a substantive
transportation offense could prejudice the jury’s understanding for the enticement conspiracy
charge. See United States v. Pfaff, 407 F. App’x 506, 510 (2d Cir. 2010) (“Constructive
amendment of the conspiracy charge would have warranted vacatur of that charge only; the
remainder of the indictment would have stood.”); United States v. Milstein, 401 F.3d 53, 66 (2d
Cir. 2005) (per curiam) (reversing on one count due to a constructive amendment but rejecting the
contention that it required reversal “as a result of prejudicial spillover”).
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       3. No Variance Occurred

       For similar reasons, no variance occurred at trial. The evidence at trial did not prove any

facts materially different from those alleged in Counts One through Four of the S2 Indictment. See

Gross, 2017 WL 4685111, at *31 (explaining that a variance occurs when “the evidence offered

at trial proves facts materially different from those alleged in the indictment”). The S2 Indictment

alleged that the defendant was Epstein’s close associate and co-conspirator who groomed minor

victims, including Jane between in or about 1994 and in or about 1997, and that the defendant and

Epstein groomed minor victims for abuse in various places, including Epstein’s ranch in New

Mexico. (See S2 Indictment ¶¶ 5, 9, 13). That is exactly what the Government proved at trial. It

was no variance that the S2 Indictment did not specifically allege that Jane was abused in New

Mexico—especially where, as here, that fact was offered as evidence of the conduct charged in the

S2 Indictment, but was not by itself sufficient to convict the defendant. This proof does not differ

from the S2 Indictment, much less materially.        Accordingly, the S2 Indictment and proof

“substantially correspond,” the defendant could not have been misled, and there is no variance.

Khalupsky, 5 F.4th at 294.

       The defendant argues that she was prejudiced because Jane recalled that she was abused

during her New Mexico trip shortly before trial, which prevented the defendant from filing a

motion to preclude the testimony or giving a limiting instruction before Jane’s testimony. (Def.

Mot. at 16-18). This argument is belied by the record. As the defendant concedes, Jane has long

recalled traveling to New Mexico. (Id. at 16-17). The defendant therefore had “fair and adequate

notice” that the Mann Act conspiracies included conduct at Epstein’s New Mexico home, which


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is all that is required. United States v. Salmonese, 352 F.3d 608, 622 (2d Cir. 2003). And in any

event, Jane recalled the incident of abuse at least as early as November 3, 2021. (See Def. Mot. at

5 n.1 (citing 3509-033 at 1)). Notes from that interview were provided to the defense on November

6, 2021—more than three weeks before trial. At the time, the parties were still litigating whether

Kate could testify at all. (See, e.g., Dkt. No. 417 (order dated November 6, 2021, requiring the

Government to brief whether Kate was a “victim” for any legal purpose, including restitution)).

The Court did not permit Kate to testify until November 19, 2021—almost two weeks after the

defendant received the relevant notes. (Dkt. No. 477). And following that decision, the parties

continued to litigate the limiting instructions for Kate and Annie in advance of trial. (See, e.g.,

11/23/21 Tr. at 28-38).

       Accordingly, the defendant had ample notice to seek a limiting instruction as to this portion

of Jane’s testimony. See Lebedev, 932 F.3d at 54 (“rejecting a prejudice argument in part because

“[t]he government disclosed the evidence and exhibits . . . four weeks prior to trial”). The Court’s

failure to give one sua sponte is not a prejudicial variance. The defendant is simply characterizing

her failure to ask for a limiting instruction at the time of Jane’s testimony as an argument that she

was prejudiced. To the contrary, the Court did not err—much less plainly so. See United States

v. Petit, 19 Cr. 850 (JSR), 2021 WL 673461, at *9 (S.D.N.Y. Feb. 21, 2021) (applying the plain

error standard to a constructive amendment claim in a Rule 33 motion that was not made at trial).

       Finally, even if the defendant had been entitled to a limiting instruction but was deprived

of the opportunity to request it, she still was not prejudiced. As the Court agreed at the charge

conference, although the Court gave the limiting instructions for Annie and Kate, there was no


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need to repeat those instructions in the context of the full charge, which clarified that “the violation

of law is as charged in New York.” (Tr. 2774-75, 2777). And the fact that the defense failed to

seek or receive a limiting instruction before Jane’s testimony did not provide a separate basis for

including a limiting instruction in the final charge. (Tr. 2777). The Court, the Government, and

the defense were painstaking during trial to ensure that the jury understood that the Mann Act

counts required an intent to commit a criminal sexual act in New York. That the defense missed

an additional opportunity for a limiting instruction is not a prejudicial variance, much less a

constructive amendment.

   II.      The Court Should Enter Judgment on Counts Three and Five

         The S2 Indictment charged three conspiracies under 18 U.S.C. § 371. Counts One and

Three were predicated on two different provisions of the Mann Act, whereas Count Five charged

a conspiracy based on the Trafficking Victims Protection Act. As the Court held in an April 16,

2021 Order, the Government was entitled to present these three different counts to the jury. (Dkt.

No. 207 at 27). Following the verdict, however, the Government agrees that the Court should enter

judgment on only one of the Mann Act conspiracy counts, given the similarities between those

counts. Accordingly, of the three conspiracy counts charged in the S2 Indictment, the Government

submits that the Court should enter judgment on Count Three, which was predicated on 18 U.S.C.

§ 2423(a), and Count Five, which was predicated on 18 U.S.C. § 1591.

         Counts Three and Five are not multiplicitous, and the Court should enter judgment on both

counts. In particular, as discussed in greater detail below, Counts Three and Five arose from

different criminal schemes, involving different criminal conduct, different statutory predicates,

and a different modus operandi. The defendant ignores these important distinctions, claiming, in
                                             24
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her motion, that these counts are “virtually identical.” (Def. Mot. at 22). But charges that cover

different schemes under different statutes are not “virtually identical.” The Court should reject

this argument.

   A. Applicable Law

       The Double Jeopardy Clause of the Fifth Amendment to the Constitution “protects against

multiple punishments for the same offense.” North Carolina v. Pearce, 395 U.S. 711, 717 (1969).

Accordingly, a defendant cannot be sentenced for multiplicitous charges covering the same crime.

“An indictment is multiplicitous when it charges a single offense as an offense multiple times, in

separate counts, when, in law and fact, only one crime has been committed.” United States v.

Chacko, 169 F.3d 140, 145 (2d Cir. 1999); see also United States v. Jones, 482 F.3d 60, 72 (2d

Cir. 2006) (“A claim of multiplicity cannot succeed, however, ‘unless the charged offenses are the

same in fact and in law.’” (quoting United States v. Estrada, 320 F.3d 173, 180 (2d Cir. 2003)).

Although the Double Jeopardy Clause does not protect against simultaneous prosecutions for the

same offense, a defendant has a right not to be punished twice for the same crime. United States

v. Josephberg, 459 F.3d 350, 355 (2d Cir. 2006) (per curiam). Accordingly, “[i]f the jury convicts

on more than one multiplicitous count, the defendant’s right not to suffer multiple punishments for

the same offense will be protected by having the court enter judgment on only one of the

multiplicitous counts.” Id. Similarly, where the judgment of conviction has already been entered

on multiplicitous counts, that right is protected by vacating the convictions on all but one

multiplicitous count. Id.

       “For purposes of a multiplicity analysis, the determinative issue is not whether the same

conduct underlies separate counts, but whether the offense charged in one count is the same as the
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offense charged in another count.” United States v. Rigas, 281 F. Supp. 2d 660, 666 (S.D.N.Y.

2003) (citing Chacko, 169 F.3d at 146). With respect to conspiracy counts, if the two counts

charge distinct conspiracies, “there is no double jeopardy problem regardless of an overt act or

other evidentiary overlap.” Estrada, 320 F.3d at 180. In the Second Circuit, courts apply the

factors set forth in United States v. Korfant to determine whether two conspiracy counts are

distinct. Id. at 180-81 (citing United States v. Korfant, 771 F.2d 660, 662 (2d Cir. 1985)). The

factors include “the criminal offenses charged, overlap of participants, overlap of time, similarity

of operation, common overt acts, geographic scope, common objectives, and degree of

interdependence.” United States v. Guzman, 7 F. App’x 45, 54-55 (2d Cir. 2001) (citing Korfant,

771 F.2d at 662); Estrada, 320 F.3d at 181.

        When applying the Korfant factors, the Second Circuit has emphasized that “‘no dominant

factor or single touchstone determines whether’ the compared conspiracies are in law and fact the

same.” Id. (quoting United States v. Macchia, 35 F.3d 662, 668 (2d Cir. 1994)). Moreover, “[a]t

a certain level of generality,’ the fact that two conspiracies ‘overlap with respect to a number of

characteristics, including time frame, geographic locale, participants, and criminal objective’ does

not negate the existence of two conspiracies if ‘[t]here exist sufficient distinctions between the

schemes charged.” Guzman, 7 F. App’x at 55 (quoting Macchia, 35 F.3d at 668).

   B.      Discussion

        Counts Three and Five charged different offenses. The Court should reject the defendant’s

multiplicity claim and enter judgment on Counts Three and Five.




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       1. Offenses Charged

       Turning to the first Korfant factor, the “criminal offenses charged,” Counts Three and Five

plainly charge different criminal offenses under 18 U.S.C. § 371. In particular, Count Three is

predicated on 18 U.S.C. § 2423(a), a provision of the Mann Act that makes it a crime to transport

minors for illegal sexual activity, whereas Count Five is predicated on 18 U.S.C. § 1591, a

provision of the Trafficking Victims Protection Act that makes it a crime to traffic minors for

commercial sex acts. As charged in the S2 Indictment, these counts have different legal objects:

Count Three concerned transporting girls under the age of seventeen to New York for purposes of

sexual abuse in violation of New York Penal Law § 130.55, and Count Five concerned commercial

sex acts with girls under the age of eighteen.

       When two counts charge conspiracies under § 371, “[s]imilarity at this general level . . . is

of limited import,” where the objects of the conspiracies differ. United States v. Villa, No. 12 Cr.

40 (JBA), 2014 WL 252013, at *4 (D. Conn. Jan. 22, 2014), aff’d, 744 F. App’x 716 (2d Cir. 2018)

(quoting Macchia, 35 F.3d at 669). For example, in Villa, the district court concluded that, under

the first Korfant factor, two § 371 offenses were distinct, because the aim of one count was “to

commit theft from an interstate shipment and to transport stolen property across state lines,”

whereas the other conspiracy was “to sell stolen property.” Id. Similarly, in United States v.

Sattar, Judge Koeltl concluded that two conspiracies charged under § 371 were distinct under

Korfant, in part because the two counts “charge a separate conspiracy under the defraud clause

and the offense clause of § 371, respectively.” United States v. Sattar, 314 F. Supp. 2d 279, 308

(S.D.N.Y. 2004), aff’d sub nom. United States v. Stewart, 590 F.3d 93 (2d Cir. 2009).


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       Here, not only are Counts Three and Five predicated on different statutes, but the legal

distinctions between these counts are substantial. First, these counts had a different age of consent,

as the age of consent for Count Three was seventeen (by operation of New York law), whereas the

age of consent for the conspiracy charged in Count Five was eighteen. Second, the conspiracies

had a different geographic locus as a result of the different legal objects of the conspiracies: Count

Three concerned travel to New York, whereas Count Five did not require interstate transportation,

and concerned acts mostly in Florida. Third, the scheme charged in Count Three concerned

transporting minors to Epstein’s residence in New York for sexual abuse in violation of state law,

whereas Count Five concerned commercial sex acts with victims, who were paid to participate in

so-called “massage” appointments. Indeed, the Government legally could not have charged these

conspiracies together, because the Trafficking Victims Protection Act was not enacted until 2000,

years after the defendant and Epstein victimized Jane and Annie Farmer, as charged in the Mann

Act conspiracy. Moreover, the proof at trial established that Virginia Roberts was a victim of the

sex trafficking conspiracy at age 17, when flight records 6 established that she travelled with the

defendant and Epstein, but that conduct could not have been charged under the Mann Act

conspiracies, which had a lower age of consent. In short, Counts Three and Five charged

categorically different crimes.




6
 See Tr. at 1855-57 (testimony of pilot David Rodgers regarding Virginia Roberts as a passenger
on flight logs); Government Exhibit 662 (flight records); Government Exhibit 14 (birth certificate
of Virginia Roberts).
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       The defendant asks the Court to ignore these legal distinctions. In particular, the defendant

urges the Court not to apply the first Korfant factor, claiming—without explanation—that this first

factor applies to claims arising from successive prosecutions, and not multiplicity claims. (Def.

Mot. at 22 n.4). But the Korfant factors are applied both when courts compare indictments in

successive prosecutions and when courts analyze counts in the same indictment. 7 See, e.g.,

Guzman, 7 F. App’x at 54-55 (applying the Korfant factors to a claim of multiplicity arising from

multiple conspiracy counts in the same indictment); United States v. Diallo, 507 F. App’x 89, 91

(2d Cir. 2013) (holding that two narcotics conspiracy counts charged in the same case were not

multiplicitous under the Korfant factors); Estrada, 320 F.3d at 180-81 (applying the Korfant

factors to a successive prosecution); Sattar, 314 F. Supp. 2d at 307 (applying the Korfant factors

to a successive prosecution). For good reason: it would make little sense to ignore the legal

distinctions between counts when determining whether those counts are different in law and fact

for double jeopardy purposes. See United States v. Hicks, 5 F.4th 270, 275 (2d Cir. 2021) (citing

Blockburger v. United States, 284 U.S. 299 (1932)). The defendant asks this Court to ignore the

first Korfant factor because it is fatal to her multiplicity claim. The two counts are legally distinct,

and the Court can and should reject the defendant’s multiplicity claim for this reason alone.




7
  The lone case cited by the defendant, United States v. Cooper, 886 F.3d 146 (D.C. Cir. 2018),
held that two § 371 counts in the same indictment were multiplicitous. (Def. Mot. at 22 n.4). In
reaching that conclusion, the Court did not hold that the first Korfant factor was inapplicable to
that particular procedural posture. The defendant otherwise cites no case in which a court held
that it was inappropriate to examine the legal differences between counts when evaluating a
multiplicity claim.
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       2. Overt Acts

       Counts Three and Five of the S2 Indictment charged different overt acts. There is no

overlap whatsoever in the overt acts between these two counts in the S2 Indictment. The defendant

does not appear to argue otherwise, (see Def. Mot. at 24), nor could she. The absence of

overlapping overt acts underscores the fact that these counts charged different conspiracies.

Accordingly, this factor weighs strongly against the defendant’s claim of multiplicity.

       3. Overlap in Participants

       Turning to the overlap of participants, the evidence at trial established that some—but

importantly, not all—participants overlapped between the two conspiracy schemes charged in

Counts Three and Five.      In any event, even if the participants had been identical in both

conspiracies, the identity of the participants alone would be insufficient to support a claim of

multiplicity. See United States v. Coleman Com. Carrier, Inc., 219 F. Supp. 2d 563, 565 (S.D.N.Y.

2002) (“[T]he existence of a single conduit does not establish proof of a single conspiracy[.]”)

(quoting Macchia, 35 F.3d at 669).

       Here, although the conspiracies charged in Counts Three and Five both involved the

defendant and Epstein, the S2 Indictment charged that, with respect to Count Five, Epstein’s

employees participated in contacting a minor victim to schedule appointments for sexualized

massages. See Dkt. No. 187, ¶ 25(d). At trial, a victim who testified under her first name, Carolyn,

testified about receiving such calls from Sarah Kellen, who worked as a personal assistant to

Epstein. (Tr. 1527). The evidence at trial established that Kellen started working for Epstein in

or about the early 2000s. (See, e.g., Tr. 832, 1889). Carolyn also testified about an incident in


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which Kellen took nude photographs of Carolyn for Epstein. (Tr. 1529). In short, the S2

Indictment charged—and the proof at trial established—that there was an additional participant in

the sex trafficking conspiracy who was not involved in the Mann Act conspiracies.

        4. Overlap of Time

        Count Three charged conduct spanning from 1994 to 2004. Count Five charged conduct

spanning from 2001 to 2004. Of the multiple overt acts charged in Count Three of the S2

Indictment, only one occurred during the timeframe of the conspiracy charged in Count Five: an

overt act regarding efforts to solicit Carolyn to travel with the defendant and Epstein. (Dkt. No.

187, ¶ 19(e)). Aside from that single overt act, no other overt act charged in Count Three occurred

within the timeframe of the conspiracy charged in Count Five. Put simply, the gravamen of the

offense conduct in Count Three occurred in the 1990s, while the offense conduct charged in Count

Five took place in the 2000s. Thus, although there is some degree of overlap in time frames

between the two counts, it is minimal at best. Accordingly, this factor weighs against a claim of

multiplicity, or at best is neutral.

        5. Geographic Scope

        Although the evidence at trial concerned events in multiple states, at Epstein’s multiple

properties, the offense conduct in Count Three concerned transporting minors from Florida to New

York, for purposes of sexually abusing victims in New York. By contrast, Count Five charged a

sex trafficking conspiracy which, as the Court instructed the jury, could be established by proof of

conduct that had a minimal effect on interstate commerce, irrespective of whether victims crossed

state lines. (Tr. 3041-42). As a result, the conspiracy in Count Three was focused on travel to


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New York, whereas the conspiracy charged in Count Five largely concerned conduct that took

place in Florida. Although the conspiracy overlapped in geographic scope, the locus of each count

was distinct and weighs against a claim of multiplicity.

       6. Similarity of Operation, Common Objectives, and Degree of Interdependence

       Finally, the conspiracies charged in Counts Three and Five were fundamentally

independent schemes, with different objectives and modes of operation. While the defendant

claims that the Government argued at trial that only one scheme existed, the trial record proves

otherwise.

       In particular, the Government’s opening statement made clear that the Government

intended to prove that the defendant sexually exploited underage girls through different

conspiratorial schemes. The first scheme, charged in Count Three, occurred largely in the 1990s,

and involved establishing mentoring relationships with victims to groom them to travel to

Epstein’s properties for sexual abuse. See Tr. 40:8-25 (describing an “earlier phase” of the

defendant’s crimes that involved developing relationships with victims, and the defendant’s later

participation in a “pyramid scheme of abuse” in which victims recruited other victims for so-called

“massage” appointments). The second scheme, in the 2000s, involved paying victims for so-called

“massage” appointments, where they were sexually exploited. Id. The Government described the

different schemes in the same manner during summations. See Tr. 2885-87 (describing the

timeline of events, and the shift between an earlier scheme and a later pyramid scheme involving

victims recruiting victims).




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          It makes no difference, as the defendant argues, that both crimes involved grooming minors

for sexual abuse. (Def. Mot. at 23-24). As Dr. Rocchio testified at trial, the use of grooming

techniques is common among perpetrators of child sexual abuse. (See Tr. 713). But using a

common tool among sexual offenders does not render the distinct conspiracies here multiplicitous;

if that were true, presumably many federal crimes against children would be multiplicitous.

          The Government was clear at trial that, while the defendant and Epstein committed crimes

together for years, they did so through different schemes, in violation of different laws. That is

what the S2 Indictment charged, and that is what the Government proved at trial: different

conspiracy crimes. The Court should deny the motion and enter judgment on Counts Three and

Five.

   III.      The Defendant’s Motion to Vacate Her Conviction and Dismiss the Indictment
             Based on Alleged Improper Pre-Trial Delay Should Be Denied

          The defendant contends that the Court should vacate her conviction and dismiss the

Indictment because the Government’s allegedly excessive delay in bringing the charges violates

her due process rights. (Def. Mot. at 25). The defendant’s contention should be swiftly rejected.

The Court has twice evaluated the defendant’s speculative and baseless arguments and twice

concluded that the defendant could not meet the “stringent standard” necessary to prevail on a

claim that any alleged pre-indictment delay violates her due process rights. (Dkt. No. 207 at 17;

Dkt. No. 317 at 10). Her arguments fare no better post-trial.

          The defendant has not and cannot successfully establish a violation of the Due Process

Clause of the Fifth Amendment. First, the defendant has not established that any alleged pre-

indictment delay caused actual prejudice to the defense. Her speculative assertions about lost

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witnesses and records are hardly the sort of evidence that she can use to carry her heavy burden.

Without proof of actual prejudice, the motion fails. Second, even if the Court finds actual prejudice

to the defense, the defendant has not established that the Government’s purpose in any alleged pre-

indictment delay was improper or designed to gain any sort of tactical advantage. As the Court

previously found, “nothing in the record indicates that the Government’s delay in bringing these

charges was designed to thwart Maxwell’s ability to prepare a defense.” (Dkt. No. 317 at 10; see

also Dkt. No. 207 at 17). The defendant did not previously make any showing of an intentional

and deliberate delay caused by the Government for an improper purpose. She fails to address the

Court’s prior findings and has made no additional showing.

       Because the defendant cannot establish either element, let alone both, her due process claim

is meritless and should be denied.

    A. The Defendant Has Failed to Demonstrate Actual and Substantial Prejudice

    1. Applicable Law

       It is well-settled that the statute of limitations is “the primary guarantee against bringing

overly stale criminal charges.” United States v. Marion, 404 U.S. 307, 322 (1971). Thus, when a

case has been brought within the statute of limitations, it is “only rarely dismissed,” and carries a

“strong presumption of validity.” United States v. Cornielle, 171 F.3d 748, 752 (2d Cir. 1999);

see also United States v. Lawson, 683 F.2d 688, 694 (2d Cir. 1982). 8




8
 As this Court previously found, the “applicable statute of limitations” does not “bar[] the charges
here.” (Dkt. No. 207 at 18).
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           The Second Circuit standard for pre-indictment delay imposes a heavy burden on the

defendant to show “both that the Government intentionally delayed bringing charges for an

improper purpose and that the delay seriously damaged the defendant’s ability defend against the

charges.” (Dkt. No. 207 at 17 (citing Cornielle, 171 F.3d at 752)). The burden for proving both

prongs of the standard rests squarely on the defendant. United States v. Scarpa, 913 F.2d 993,

1014 (2d Cir. 1990); United States v. Rubin, 609 F.2d 51, 66 (2d Cir. 1979); United States v. Ricco,

549 F.2d 264, 272 (2d Cir. 1977). The burden is so heavy that it is rarely met by a defendant. See

DeMichele v. Greenburgh Centr. Sch. Dist. No. 7, 167 F.3d 784, 790-91 (2d Cir. 1999) (“[W]hile

the [Supreme] Court may not have shut the door firmly on a contention that at some point the Due

Process Clause forecloses prosecution of a claim because it is too old, at most the door is barely

ajar.”).

           Substantial prejudice is just that—substantial, actual, non-speculative prejudice. See

United States v. Birney, 686 F.2d 102, 105-06 (2d Cir. 1982) (a defendant’s “proof of prejudice

must be definite and not speculative”); see also United States v. Henderson, 337 F.3d 914, 920

(7th Cir. 2003) (prejudice sufficient to warrant dismissal for pre-indictment delay must be “actual

and substantial” and “specific, concrete, and supported by evidence”). Prejudice in this context

refers to “actual prejudice to the defendant’s right to a fair trial.” United States v. Elsbery, 602

F.2d 1054, 1059 (2d Cir. 1979). It is well-established that the mere loss of evidence or of

witnesses, by death or otherwise, without more, is insufficient. See, e.g., United States v. Snyder,

668 F.2d 686, 689 (2d Cir. 1982) (death of a defense witness three years before indictment

insufficient prejudice); United States v. King, 560 F.2d 122, 130-31 (2d Cir. 1977) (death of


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witness and missing documents insufficient prejudice); United States v. Pierre-Louis, No. 16 Cr.

541 (CM), 2018 WL 4043140, at *4-5 (S.D.N.Y. Aug. 9, 2018) (death of a defense witness and

defendant’s own memory issues insufficient prejudice). Moreover, even when a claim of prejudice

is based upon the complete loss of a witness’s testimony or other evidence, a defendant

nevertheless must show how that testimony or evidence would have affected the outcome or

otherwise have assisted the case. See United States v. Gilbert, 266 F.3d 1180, 1187 (9th Cir. 2001)

(defendant’s pre-indictment delay claim rejected due to failure to show “how the testimony from

[three absent] witnesses would have benefitted his case”); United States v. Spears, 159 F.3d 1081,

1085 (7th Cir. 1998) (“[A] defendant must do more than show that a particular witness is

unavailable and that the witness’ testimony would have helped the defense. He must also show

that the witness would have testified, withstood cross-examination, and that the jury would have

found the witness credible.”). “Courts have held that ‘the defendant also has the burden of showing

that the lost testimony or information was not available through other means.’” Pierre-Louis, 2018

WL 4043140, at *4 (quoting United States v. Sprouts, 282 F.3d 1037, 1041 (8th Cir. 2002)).

       The vast majority of pre-indictment delay cases fail on the first prong. See, e.g., Marion,

404 U.S. at 324-26 (fading witness memories insufficient; “no one suggests that every delay-

caused detriment to a defendant’s case should abort a criminal prosecution”); Snyder, 668 F.2d at

689 (death of a defense witness three years before indictment insufficient prejudice); King, 560

F.2d at 130-31 (death of witness and missing documents insufficient prejudice); United States v.

Iannelli, 461 F.2d 483, 485 (2d Cir. 1972) (unavailability of witnesses insufficient prejudice);




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Pierre-Louis, 2018 WL 4043140, at *4-5 (death of a defense witness and defendant’s own memory

issues insufficient prejudice).

       2. Discussion

       The defendant contends that she has suffered substantial prejudice due to the death of

certain witnesses and the unavailability of certain documentary records. (Def. Mot. at 25-30). The

defendant’s speculative claims fail to establish substantial and actual prejudice caused by the

allegedly excessive pre-indictment delay. See Birney, 686 F.2d at 105-06.

       The defendant claims she has suffered substantial prejudice as a result of pre-indictment

delay due to the unavailability of (1) Alberto Pinto and Roger Salhi, architects who worked for

Epstein; (2) Sally Markham, “a property manager hired to help run Epstein’s properties in the early

2000s”; and (3) Lynn Fontanilla, the live-in housekeeper in Epstein’s New York townhouse. (Def.

Mot. at 29-30). 9 The defendant’s speculative claims of prejudice do not withstand scrutiny. First,

the fact that certain deceased witnesses cannot testify does not compel a finding of actual prejudice.

“[U]navailable witnesses are inherent in any delay, even if justifiable. To merit dismissal a

defendant must demonstrate a substantial, actual prejudice to his ability to defend himself.” United



9
 The defendant also reasserts that the witnesses “already mentioned in [her] previous filings”—
namely, Jeffrey Epstein, Epstein’s mother, Michael Casey (the alleged agent of Minor Victim-1),
and Palm Beach Police Department Detective Joseph Recarey—“could have provided evidence
contradicting the government’s proof.” (Def. Mot. at 29). The Court already rejected the
defendant’s claims of actual prejudice as to these witnesses, finding that the defendant “provide[d]
no indication of what many of these potential witnesses might have testified to” and noting “serious
doubts under all of the relevant circumstances that a jury would have found testimony from Epstein
credible even if he had waived his right against self-incrimination and testified on her behalf.”
(Dkt. No. 207 at 18). The defendant offers no new arguments as to these witnesses, and her claims
certainly fare no better after the trial in this matter.
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States v. Long, 697 F. Supp. 651, 657 (S.D.N.Y. 1988). The defendant has not made such a

showing. Her abstract assertions simply do not rise to that level, and the law is clear that “proof

of prejudice must be definite and not speculative.” Birney, 686 F.2d at 105-06; see also Long, 697

F. Supp. at 657 (finding that “perceived prejudice is speculative” where there was “no way of

knowing what [the unavailable witness’s] testimony would have been”); United States v. Valona,

834 F.2d 1334, 1339 (7th Cir. 1987) (noting that prejudice analysis must consider whether the

missing witness “would have withstood cross-examination,” whether the jury would have found

him a “credible witness,” and whether the testimony, when compared to other trial evidence

“would affect the trial outcome”); Spears, 159 F.3d at 1085. “Courts have generally found that

vague assertions that a deceased witness might have provided favorable testimony do not justify

dismissing an indictment for delay.” (Dkt. No. 207 at 17); see also United States v. Scala, 388 F.

Supp. 2d 396, 399-400 (S.D.N.Y. 2005) (“Counsel’s unsworn assertions as to vague generalities”

that witnesses, “if alive, would give testimony helpful to [the defendant] do not show that [the

defendant’s] ability to present a defense has been substantially and actually prejudiced.”). Here,

“there is no evidence before the Court as to what [the deceased witnesses] would have testified,

much less specific evidence of how losing that testimony has caused [the defendant] actual

prejudice.” Id. at 400. The defense’s unsworn assertions about what “the defense believes” these

witnesses “could have established” or “could have testified” to do not justify dismissing the

Indictment or vacating the defendant’s conviction. (Def. Mot. at 29-30).

       Second, even assuming that Pinto, Salhi, Markham, and Fontanilla would have testified as

the defendant contends, such testimony would have no bearing on whether the defendant did, in


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fact, participate in the sexual abuse of the victims in the manner described in the Indictment. As

a factual matter, the record is crystal clear that these witnesses were not with the defendant and

Epstein at “every moment” during the period charged in the Indictment. See Pierre-Louis, 2018

WL 4043140, at *4. It would thus be “impossible” for them “to testify that [the] defendant did not

commit the charged crimes, so whatever helpful testimony [they] might have offered (the details

of which are sparse in the motion) would be easily undermined on cross-examination.” Id. (citing

Spears, 159 F.3d at 1081-85). Moreover, even assuming that these witnesses would have testified

as the defendant claims and that such testimony would have been admissible, the defendant does

not address why the unavailability of these particular individuals has caused her actual prejudice

when other employees who worked for Epstein and the defendant were available to offer (and did

offer) testimony about Epstein’s residences and the defendant’s role and time spent at such

residences. It is the defendant’s burden to establish that these witnesses’ testimony could not be

put before the jury through other means, and the defendant has not established—and cannot

establish—that these four witnesses were “key” witnesses who would have testified at her trial in

an irreplaceable way that would have helped, rather than hurt, her. Cornielle, 171 F.3d at 752.

       In particular, the defendant cites the absence of Pinto and Salhi, “architects who built,

renovated, and decorated many of Epstein’s residences” and speculates that their testimony “would

have cast significant doubt on Jane’s recollection of events.” (Def. Mot. at 29). The defendant

has not set forth what Pinto and Salhi would have attested to had the charges been brought sooner.

Moreover, at trial, the defendant cross-examined other employees who worked for Epstein during

the relevant time periods—such as Juan Alessi and pilots Larry Visoski and David Rodgers—and


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inquired about Epstein’s residences in an effort to cast doubt on Jane’s recollections of events. In

addition, the defendant listed as a defense witness one employee who worked for Epstein in his

New York residence at East 71st Street in the mid-1990s, but tellingly elected to not call that

witness. (Def. Dec. 14, 2021 Letter to Court). The defendant also cites the absence of Sally

Markham, claiming that she “could have testified that the household manual [Government Exhibit

606] was not created by Ms. Maxwell, but by another individual known as ‘the Countess,’ whom

Epstein brought in to ‘professionalize’ his staff.” (Def. Mot. at 30). The defendant conveniently

ignores Alessi’s testimony about the manual (Tr. 807-09) and Government Exhibit 424, an email

chain in which the defendant and Markham discussed the household manual, which made

abundantly clear that the defendant was involved in developing the manual. The defendant’s bald

assertions about Markham’s testimony are speculative and belied by the trial record. Finally, the

defendant’s musings about what Fontanilla “could have testified” about (Def. Mot. at 30)—the

details of which are sparse—do not “demonstrate a substantial, actual prejudice to [her] ability to

defend [herself].” Long, 697 F. Supp. at 657. Even assuming that Fontanilla would have testified

as the defendant now contends, such testimony would also have no bearing on whether the abuse,

in fact, occurred.

       In sum, the defendant “fail[s] to identify what [these] witnesses would have attested to had

the case been brought sooner; [she] fail[s] to substantiate the proposition that the testimony would

have been favorable to [her]; and [she] fail[s] to provide any proof to support [her] claims of actual

and substantial prejudice.” United States v. Berry, No. 20 Cr. 84 (AJN), 2021 WL 2665585, at *3

(S.D.N.Y. June 29, 2021).       “Moreover, even assuming arguendo that the [defendant] had


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established that the testimony would have been favorable to [her], [she has] not shown that the

witnesses would have been ‘key’ and not peripheral.” Id.; see also id. (“The rule in this Circuit

has long been that ‘missing peripheral witnesses are not enough[.]’” (quoting Rubin, 609 F.2d at

66)).

        The defendant also claims to have suffered prejudice regarding what she calls “critical

documentary records” that were no longer available to challenge certain Government assertions or

“test critical dates.” (Def. Mot. at 25, 27). She specifically points to the unavailability of certain

flight records, financial documents, phone records, and property records as proof of actual and

substantial prejudice. (Id. at 26-29). Her unsubstantiated claims fail for at least three reasons.

        First, the defendant’s motion either speculates about or lacks any suggestion of what such

records would have shown.         For example, the defendant argues that “[c]ritical financial

documents” were unavailable to her. (Id. at 27). The defendant—who herself knows about the

nature of the financial transactions between herself and Epstein—fails to indicate or suggest what

the financial documents would have shown. The defendant also argues that property records about

Epstein’s homes could have rebutted Jane’s testimony about the appearance of his homes at

various points in time. (Id. at 28-29). But ample evidence about the appearance of Epstein’s

homes was offered at trial, and the defendant’s motion offers no non-speculative information about

what property records would specifically have provided that was absent from trial testimony and

could not have been obtained another way.

        Second, the defendant’s “motion does not provide any basis to conclude that the evidence,

if available, would have been favorable to the [defendant].” Berry, 2021 WL 2665585, at *2. As


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one example, the defendant claims that Carolyn’s trial testimony that the defendant called her to

set up massage appointments “could have been disproven with contemporaneous phone records.”

(Def. Mot. at 28) (emphasis added). The defendant’s claim is entirely speculative; she makes no

claim about what Carolyn’s phone records, or those of her mother or then-boyfriend, would have

shown, and she ignores that the records may well have helped the Government, not her, if they

were available.

       As another example, the defendant argues that had the flight manifests been available for

the time period charged in the Indictment, 10 she “could have used them to challenge whether Jane

was on those flights as well as the accuracy of Jane’s recollection of events.” (Id. at 26). The

defendant does not establish how the flight manifests would have helped her. She claims that she

needed the flight manifests because the flight logs are incomplete. (Id.). In so arguing, the

defendant assumes that the flight manifests were complete 11 and contained information that would




10
   The defendant baldly argues that the flight manifests “did not go back to the time period charged
in the Indictment” “[b]ecause of the passage of time.” (Def. Mot. at 26). However, at trial, Visoski
testified that between approximately 1994 and 2004, he would drop off the passenger manifests he
personally completed at Epstein’s main office in New York. (Tr. 172). Similarly, Rodgers
testified that he turned over the passenger manifests that he completed to one of Epstein’s
attorneys. (Tr. 1819). The defendant has not established that such manifests were not available
due to any intentionally manufactured delay. See United States v. Dornau, 356 F. Supp. 1091,
1094 (S.D.N.Y. 1973) (“The fact that evidence may be lost or destroyed during the pre-indictment
stage is inherent in any delay, no matter what the duration. Furthermore, there has been no
allegation in this case that the destruction of the records was deliberate on the part of either the
government or trustee.”).
11
   The defendant complains that the flight logs kept by Rodgers “were incomplete and often
identified passengers simply by their first names or generic identifiers like ‘1 female’ or ‘1 male’”
in her efforts to argue that the unavailability of the passenger manifests was material. (Id.). The
defendant ignores Visoski’s testimony that when completing the manifest, he “tried to be as
accurate as [he] could,” but that if he “didn’t know a passenger name, [he] wanted to put whether
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be helpful to her. Indeed, she again ignores that the flight manifests may well have helped the

Government. Once again, the defendant’s argument is entirely speculative and unsupported by the

record. The defendant offers no proof or basis for concluding that the flight manifests would be

helpful and merit the extreme relief she seeks.

       Third, the defendant’s “motion is unsupported by any proof that might substantiate a

finding of actual and substantial prejudice as a result of the delay.” Berry, 2021 WL 2665585, at

*2 (citing Birney, 686 F.2d at 106). The defendant’s “bare assertions do not satisfy the ‘definite

and not speculative’ requirements attendant on the [defendant’s] ‘heavy burden’ to show actual

prejudice.” Id. Instead, the defendant appears to “rely on the proposition that the loss of evidence

merits an inference that the evidence would have been both favorable and material.” Id. The

defendant, however, is “not entitled to any such inference” “[a]s the side that bears the burden.”

Id. “Without even a cursory showing of what the evidence would have shown, the [defendant]

raise[s] ‘at most the possibility of prejudice,’ but ‘[n]o actual prejudice is established.’” Id.

(quoting United States v. Foddrell, 523 F.2d 86, 88 (2d Cir. 1975)).

       In short, the defendant’s complaints are nothing more than the type of self-serving, vague,

speculative, and conclusory claims of prejudice that courts have consistently rejected as

insufficient to warrant dismissal of charges based upon pre-indictment delay. The motion should

therefore be denied.




they were male or female.” (Tr. 172-73). Thus, there is no basis to conclude that the manifests
would have contained the information as the defendant speculates, much less that they would have
been helpful to the defense.
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   B. The Defendant Has Failed to Establish that the Government Delayed the Indictment
      for an Improper Purpose

   3. Applicable Law

       If, and only if, a defendant has established significant, actual prejudice does the inquiry

turn to the reason for the delay. See, e.g., Pierre-Louis, 2018 WL 4043140, at *5 (“Because

Defendant failed to show prejudice, the Court need not even address the second prong[.]”). The

reason for delay violates due process only if it is so extreme that it departs from fundamental

notions of “fair play.” United States v. Lovasco, 431 U.S. 783, 795 (1977). The Supreme Court

has “defined the category of infractions that violate ‘fundamental fairness’ very narrowly,”

Dowling v. United States, 493 U.S. 342, 352 (1990), and the Supreme Court has “stressed the

importance for constitutional purposes of good or bad faith on the part of the Government when

the claim is based on loss of evidence attributable to the Government,” Arizona v. Youngblood,

488 U.S. 51, 57 (1988).

       The Second Circuit has clearly held that a defendant seeking the dismissal of an indictment

filed within the statute of limitations must establish that the Government acted intentionally,

deliberately, or with some strategy, and that the Government used that delay to gain a tactical

advantage over the defendant. See, e.g., Cornielle, 171 F.3d at 752 (delay must be an “intentional

device to gain [a] tactical advantage over the accused” (quoting Marion, 404 U.S. at 324)); see

also United States v. Alameh, 341 F.3d 167, 176 (2d Cir. 2003) (“To show unjustifiable conduct,

a defendant must demonstrate that the government has intentionally used delay to gain unfair

tactical advantage.”); United States v. Delacruz, 970 F. Supp. 2d 199, 203 (S.D.N.Y. 2013) (“[The

defendant’s] motion to dismiss would nevertheless fail for the independent reason that he has not

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made any showing that the preindictment delay was an intentional device designed by the

Government to gain a tactical advantage.”); United States v. Martinez, No. 94 Cr. 219 (RPP), 1995

WL 10849, at *4 (S.D.N.Y. Jan. 12, 1995) (“In order to establish improper delay by the

Government in filing an indictment, a defendant must show that the delay was the result of an

intentional device of the Government to gain tactical advantage over the accused.” (citing United

States v. Hoo, 825 F.2d 667, 671 (2d Cir. 1987))). Indeed, some version of the phrase “deliberate

device” and “tactical advantage” is found in nearly every Second Circuit decision on the issue.

See, e.g., Alameh, 341 F.3d at 176 (“intentionally used delay to gain unfair tactical advantage”);

Cornielle, 171 F.3d at 752 (requiring “intentional device” to gain “tactical advantage”); Lawson,

683 F.2d at 694 (delay not “engineered by the government for an improper purpose, such as gaining

a tactical advantage”); Snyder, 668 F.2d at 689; United States v. Watson, 599 F.2d 1149, 1156 n.5

(2d Cir. 1979); United States v. Tanu, 589 F.2d 82, 89 (2d Cir. 1978); United States v. Laurenti,

581 F.2d 37, 40 n.11 (2d Cir. 1978); United States v. Hillegas, 578 F.2d 453, 460 (2d Cir. 1978).

               4. Discussion

       Because the defendant has failed to establish prejudice, the Court need not address the

defendant’s specious arguments that the Government’s purpose in any alleged pre-indictment

delay was improper or designed to gain any sort of tactical advantage. See Pierre-Louis, 2018 WL

4043140, at *5. In any event, in denying the defendant’s pre-trial motions and supplemental pre-

trial motions, the Court noted the absence of “evidence that the Government’s delay in bringing

these charges was designed to thwart Maxwell’s ability to prepare a defense.” (Dkt. No. 207 at

17; Dkt. No. 317 at 10). That remains true.


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       As the Government explained in its memorandum in opposition to the defendant’s twelve

pre-trial motions, dated February 26, 2021 (Dkt. No. 204 at 41-59), and in its memorandum in

opposition to the defendant’s supplemental motions, dated May 21, 2021 (Dkt. No. 295 at 13-16),

the Indictments in this case were brought in a timely manner upon the Government’s collection of

evidence to support the charges. Any suggestion that the Government intentionally delayed

obtaining the Indictments to gain some strategic advantage has no basis in fact, and for good

reason: it is not true. The defendant has not established—and cannot establish—an undue delay,

much less an intentional and deliberate delay caused by the Government for an improper purpose.

       In her current motion, the defendant offers no additional argument or factual claims

whatsoever in support of her argument that the Government’s purpose in any alleged pre-

indictment delay was improper or designed to gain any sort of tactical advantage. Indeed, she

ignores the second prong of the pre-indictment delay standard and refers the Court back to her

prior briefing, which this Court has twice considered and rejected. (Dkt. No. 207 at 17; Dkt. No.

317 at 10). If anything, the trial record undermined the defendant’s argument on this prong. In an

effort to show the victims’ supposed financial motivations for testifying, the defendant repeatedly

focused the jury’s attention on the fact that victims only recently agreed to cooperate with the

Government. That same evidence precludes any argument of intentional delay by the Government.

The defendant’s renewed complaints are insufficient to warrant dismissal of charges based upon

pre-indictment delay, and accordingly, the motion should be denied.




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         Because the defendant cannot meet her “heavy burden” of establishing either element of

unconstitutional delay, Cornielle, 171 F.3d at 752, let alone both, her motion to vacate her

conviction or dismiss the Indictment for pre-indictment delay is meritless and should be denied.

   IV.      The Court Should Deny the Defendant’s Motion for Judgment of Acquittal Under
            Rule 29

         In a brief paragraph at the end of her motion, the defendant “reasserts th[e] same motion”

under Rule 29 she made following the close of the Government’s case and the close of her case

and “incorporates the arguments previously made to the Court.” (Def. Mot. at 30). The Court

should reject those arguments as it has before.

         The defendant has only offered a specific challenge to the sufficiency of the evidence as to

Counts One and Two, the enticement counts. Specifically, the defendant argued that the record

lacked sufficient evidence that the defendant “or anyone else who allegedly participated in this

conspiracy persuaded, induced, or enticed Jane to travel to New York to engage in illegal sexual

activity.” (Tr. 2266-67; see Tr. 2269-70 (“There is not testimony whatsoever that Ghislaine

Maxwell encouraged [Jane] to travel.”)). Of course, the jury acquitted the defendant on Count

Two, the substantive enticement count. As to Count One, the jury could have readily concluded

that the defendant conspired with Epstein to groom minor victims and entice them to travel to

Epstein’s various properties, including his home in New York, to be sexually abused. For instance,

Jane testified that she was abused by Epstein and the defendant in New York. (Tr. 320). And the

record is replete with testimony regarding the manner in which the defendant worked with Epstein

to groom minor victims and entice them to travel to Epstein’s properties. (See, e.g., Tr. 300 (Jane

seeing the defendant topless), 348 (making Jane feel special, in part by taking her on “field trips”),

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2080-84 (shopping with Annie in New Mexico and teaching her to massage Epstein’s feet), 840-

45 (recruiting Virginia and instructing Alessi to bring her to Epstein’s Florida house), 1524

(Virginia receiving money for sex with Epstein), 1534 (inviting Carolyn to travel)). The jury

evidently credited this testimony, and based on that testimony and the reasonable inferences from

it, a rational jury easily could have (and did) find her guilty on Count One.

       The defendant has made no substantive argument as to the sufficiency of the evidence on

the remaining counts, and for good reason. Just as the conspiracies in Counts One and Three are

multiplicitous because enticement and transportation are dual aims of the same conspiracy, see

supra Part III, Count Three is amply supported by the evidence underlying Count One. As to

Count Four, the record contains evidence that the defendant made travel arrangements for Jane,

including the specific incident in which Jane had difficulty returning from New York to Palm

Beach, and that the defendant traveled with Jane on Epstein’s private plane. (Tr. 2268-69; see Tr.

316-17 (testimony that the defendant traveled with Jane on Epstein’s private jet and would “assist”

in “making travel arrangements”); Tr. 323-24 (“[S]ometimes it would be – Jeffrey would ask her,

hey, can you get Jane, you know, tickets and the times and whatnot and make the arrangements to

be picked up.”). That, in combination with evidence of the defendant’s participation in Jane’s

abuse in New York, is sufficient on its own for the jury to convict on Count Four. See United

States v. Vargas-Cordon, 733 F.3d 336 (2d Cir. 2013) (“The record is replete with evidence from

which a reasonable jury could infer that sexual access to Jaire was a dominant purpose of Vargas-

Cordon’s repeated transport of her from his New Jersey home into Brooklyn.”); United States v.

Mi Sun Cho, 713 F.3d 716, 720 (2d Cir. 2013) (“Cho does not dispute that one who arranges


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another’s transportation across state lines for purposes of prostitution violates § 2421”); United

States v. Holland, 381 F.3d 80, 86 (2d Cir. 2004) (“A defendant will be deemed to have

‘transported’ an individual under Section 2421 where the evidence shows that the defendant

personally . . . performed the proscribed act of transporting.”). But the jury could also have

convicted the defendant by concluding that Epstein transported Jane, as he undoubtedly did by

transporting her on his private jet, and that the defendant aided and abetted that transportation by

grooming Jane, accompanying her on the plane, and participating in the abuse once she arrived in

New York.

        Finally, the record contains ample evidence for the jury to convict on Counts Five and Six.

Carolyn’s testimony, corroborated by testimony from Shawn and physical evidence including

message pads, showed that the defendant knew that Carolyn was a minor and made phone calls to

arrange for Carolyn to engage in sex acts with Epstein in exchange for money. That is sufficient

for Count Six. And the evidence showed that the defendant conspired with Epstein to traffic

Carolyn and other minors for sex, including evidence that the defendant personally recruited

Virginia while she was a minor. That is sufficient for Count Five.

        The defense at trial focused largely on the credibility of the victims who testified against

the defendant. Now that the jury has convicted on five counts, and in a posture in which the Court

must defer to the jury’s evaluation of the witnesses and take all inferences in favor of the

Government, those arguments are not availing. The evidence at trial is more than sufficient to

sustain the jury’s verdict.




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                                       CONCLUSION

       For the reasons set forth above, the Government respectfully submits that the Court should

grant the defendant’s motion as to Count One, and otherwise deny the defendant’s post-trial

motions.

Dated: February 25, 2022
       New York, New York


                                                          Respectfully submitted,

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